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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION



UNITED STATES OF AMERICA

                                                              CR 1:16-023

MICHAEL OTTEY




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Jacque D. Hawk having made application to the Court for a leave of absence,

and it being evident from the application that the provisions of Local Rule 83.9 have

been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Jacque D. Hawk be granted leave of

absence for the following periods: July 4, 2016 through July 8, 2016; July 25,

2016 through August 2, 2016; September 2, 2016 through September 6,
2016; November 23, 2016 through November 28, 2016; December 19, 2016
through December 30, 2016; January 26, 2017 through January 30, 2017;
February 16, 2017 through February 21, 2017; and April 3, 2017 through

April 10, 2017.

      This / /day of June, 2016.




                                                  JLE J. RftNDAL HALL
                                        UnitedyStates District Judge
                                        Southern District of Georgia
